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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Northern District
                                             __________  District of
                                                                  of Georgia
                                                                     __________


                THE STATE OF GEORGIA                           )
                             Plaintiff                         )
                                v.                             )      Case No.     1:23-cv-03621-SCJ
                    MARK R. MEADOWS                            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          MARK R. MEADOWS                                                                                              .


Date:          08/16/2023                                                              /s/ Joseph M. Englert
                                                                                         Attorney’s signature


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